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 8                           UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

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11    BOUNPANE THAVIXAY,                       CASE NO. EDCV 21-00847-AB(AS)

12                      Petitioner,            ORDER ACCEPTING FINDINGS,
13          v.                                 CONCLUSIONS AND
14    B. BURDICK,                              RECOMMENDATIONS OF UNITED
15                                             STATES MAGISTRATE JUDGE
                        Respondent.
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           Pursuant to 28 U.S.C. section 636, the Court has reviewed the
21   Petition, all of the records herein and the attached Report and
22   Recommendation     of   United   States    Magistrate   Judge   to   which   no
23   objections were filed.        Accordingly, the Court concurs with and
24   accepts the findings and conclusions of the Magistrate Judge in
25   the Report and Recommendation.
26

27         IT IS ORDERED that Judgment be entered denying the First

28   Amended Petition with prejudice.
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 1         IT IS FURTHER ORDERED that the Clerk serve copies of this
 2   Order, the Magistrate Judge’s Report and Recommendation and the
 3
     Judgment    herein   on   counsel    for    Petitioner   and   counsel     for
 4
     Respondent.
 5

 6         DATED:   October 28, 2021

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 8                                              ___________    _________ ____
                                                       ANDRÉ BIROTTE JR.
 9                                               UNITED STATES DISTRICT JUDGE
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